                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )
v.                                            )    CASE NO. 3:13-00065
                                              )    JUDGE SHARP
TERRY DUANE JORDAN [3]                        )


                                         ORDER


       Pending before the Court is a SEALED MOTION (Docket No. 204).

       The motion is GRANTED and the sentencing hearing scheduled for October 31, 2014,

is hereby rescheduled for Monday, February 9, 2015, at 2:30 p.m.

       It is so ORDERED.



                                           KEVIN H. SHARP
                                           UNITED STATES DISTRICT JUDGE




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